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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :       1:21-cr-00542-TJK
                                           :
v.                                         :
                                           :
OWEN SHROYER                               :       April 5, 2022


                        DEFENDANT’S MOTION FOR CONTINUANCE

         The defendant, through counsel, requests a continuance of 30 days of the hearing

set for April 7, 2022 and for the deadline for him to file a motion to dismiss.

         In support hereof, the undersigned represents as follows:

     •   I am counsel for Owen Shroyer in the instant matter.

     •   The undersigned and the United States have had engaged in ongoing discussions

         about how to resolve this case. The parties need additional time to complete those

         discussions.

     •   The undersigned also needs additional time to prepare the defendant’s motion to

         dismiss.

     •   The undersigned has conferred with the United States, which consents to the

         granting of this motion.

Wherefore the undersigned moves the Court to continue the hearing scheduled for April

7, 2022 until May 9, 2022 as well as the deadline for the undersigned to file a motion to

dismiss until May 9, 2022.




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                                                    THE DEFENDANT


                                                    By:_____/s/_______
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                                      CERTIFICATION

        This is to certify that on April 5, 2022, a copy of the foregoing was filed

electronically. Notice of this filing will be sent, via e-mail, to all parties by operation of

the Court’s electronic filing system, and the undersigned did cause to be sent, via First

Class U.S. mail, postage prepaid, a copy of the foregoing to all counsel and pro se

parties that do not have access to the Court’s electronic filing system and to whom the

court directs the undersigned to send a hard copy via mail. Parties may access this

filing through the Court’s system.



                                  /s/ NORMAN A. PATTIS /s




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